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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )               Case No. 8:12CR70
                                          )
                     Plaintiff,           )
                                          )
       vs.                                )
                                          )                     ORDER
YAJAIRA MONARREZ-ZENDEJAS,                )
                                          )
                     Defendant.           )


       This case came before the Court on a Petition for Action on Conditions of Pretrial
Release (#375). On April 1, 2013, Pretrial Services Officer Theresa Rerucha submitted a
Petition for Action on Conditions of Pretrial Release alleging that Defendant had violated
conditions of release as follows:


       1. The defendant shall not commit any offense in violation of federal, state or
       local law while on release in this case.

       On or about March 9, 2013, the defendant was arrested by Omaha Police
       Department for Theft by unlawful taking over $1,500, a felony offense. This
       case is pending in Douglas County District Court.


A warrant for Defendant’s arrest was issued.
       Defendant appeared before the undersigned magistrate on April 3, 2013. Adam
Sipple represented Defendant. Meredith Tyrakoski, Assistant United States Attorney,
represented the Government. The defendant was advised of the nature of the allegations,
rights, and the consequences if the allegations were found to be true. The Court took
judicial notice of the Memorandum of Pretrial Services Officer Theresa Rerucha dated
April 3, 2013. The Court finds the allegations set out in the petition are generally true and
finds the Defendant violated the conditions of release.
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        After providing both parties an opportunity for allocution as to disposition and
considering the report of Pretrial Services, I find the Order Setting Conditions of Release
(#37) should remain in force.
        IT IS ORDERED:
        1. The Petition for Action on Conditions of Pretrial Release (#375) is granted; and
        2. The March 26, 2013 Order Setting Conditions of Release (#37), shall remain in
full force.
        Dated this 3rd day of April 2013.


                                            BY THE COURT:


                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge
